 FORM B9I (9/1/09)
                  UNITED STATES BANKRUPTCY COURT                                                             U.S. BANKRUPTCY COURT
                                                                                                              DISTRICT OF OREGON
                      DISTRICT OF District of Oregon                                                                 FILED

                       Notice of                                                                                November 10, 2009

    Chapter 13 Bankruptcy Case, Meeting of Creditors,                                                       Clerk, U.S. Bankruptcy Court

        Deadlines, and Proposed Case Dismissal                                                                    BY psr DEPUTY

A Chapter 13 bankruptcy case concerning the debtor(s) named below was FILED ON 11/10/09. You may be a creditor of the debtor.
This notice lists important deadlines. You may want to consult an attorney to protect your rights. All documents filed in the case may
be inspected at the bankruptcy clerk's office.
                                       SEE REVERSE SIDE FOR IMPORTANT EXPLANATIONS
Debtor(s) (name(s) and address):                                                            Case Number:      09−39313−rld13
                                                                                            Last four digits of Social−Security or Individual
Eugene Tyrone Alwine                                                                        Taxpayer−ID(ITIN) No(s)./Complete EIN:
Bobbi Lee Alwine                                                                                   xxx−xx−6987
                                                                                                   xxx−xx−2596
 Other names used by debtor: Gene Alwine
                                                                                            Debtor(s) Attorney:
28281 S. Dalmation Rd.                                                                             TODD TRIERWEILER
Mulino, OR 97042                                                                                   4721 NE 102nd Ave
                                                                                                   Portland, OR 97220
                                                                                                   Telephone No.: (503) 253−7777
                                                                                            Trustee:
                                                                                                   Brian D. Lynch
                                                                                                   1300 SW 5th #1700
                                                                                                   Portland, OR 97201
                                                                                                   Telephone No.: (503) 972−6300

                                                        Meeting of Creditors
12/22/09 at 04:00 PM in CHAPTER 12/13 OFFICE, 1300 SW 5th Ave Fl 17, Portland, OR 97201
  (Note: NOT at Multnomah County Courthouse!)
   Deadlines − Documents must be received by the bankruptcy clerk's office by the following deadlines:
                           Deadline to File a Proof of Claim: (Note: Use form ENCLOSED with this Notice!!)
3/22/10 for all creditors, except for governmental units who must file within 180 days after the date relief ordered.
Deadline to File a Complaint to Determine Dischargeability of Certain Debts: Sixty (60) days after the first date set for the Meeting
of Creditors.
Deadline to Object to Exemptions: 30 days after the conclusion of the Meeting of Creditors.
                                 Filing of Plan, HEARING ON CONFIRMATION OF PLAN
1/28/10 at 09:00 AM in US Bankruptcy Court, Courtroom #3, 1001 SW 5th Ave, 7th Floor, Portland, OR 97204.
    A Summary of the debtor's plan is either enclosed or will be separately mailed upon filing. Testimony will NOT be received.
                                           Creditors May Not Take Certain Actions
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request
the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.
                                             Notice of Proposed Dismissal of Case
YOU ARE NOTIFIED this case may be dismissed without further notice if either: (1) all plan payments are not current, or (2) the
debtor(s) fail to complete the Meeting of Creditors set above, or timely file any documents and/or make fee payments as ordered by the
court, unless within 20 days of the above "FILED" date either the debtor or trustee files a written objection to dismissal, setting forth
specific grounds, with the Clerk of Court AND sends a copy to the nonfiling party (i.e., debtor or trustee).
                                                 Creditor with a Foreign Address
Please read the information under "Claims" on reverse.




                                     Case 10-31675-rld13               Doc 8      Filed 11/12/09
FORM B9I (9/1/09)                                         EXPLANATIONS
Filing of Chapter   A bankruptcy case under Chapter 13 of the Bankruptcy Code (Title 11, United States Code) has been filed in this
13 Bankruptcy       Court by the debtor(s) named on the front side, and an order for relief has been entered. Chapter 13 allows a
Case                debtor, with regular income and debts below a specified amount, to pay debts in full or in part over a period of
                    time pursuant to a plan. A plan is not effective unless confirmed by the bankruptcy court. Creditors will be given
                    notice in the event the case is dismissed or converted to another chapter of the Bankruptcy Code.
Objections to       Any creditor objecting to any provision of the debtor's plan, whose objections were not resolved at the Meeting of
Confirmation        Creditors, must personally appear at the confirmation hearing (see reverse side for date, time and location) and
                    present such objections or file detailed written objections with the court at least 3 business days before such
                    hearing. Filing a proof of claim rejecting the plan, or motion for relief from the automatic stay, will not be
                    considered an objection to the confirmation.
Creditors May Not Prohibited collection actions are listed in Bankruptcy Code §362 and §1301. Common examples of prohibited
Take Certain      actions include contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to
Actions           collect money or obtain property from the debtor; repossessing the debtor's property; starting or continuing
                  lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under certain circumstances, the
                  stay may be limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a
                  stay.
Meeting of          The Meeting of Creditors is scheduled for the date, time and location listed on the front side. The DEBTOR (both
Creditors           husband and wife in a joint case) must be present at the meeting to be questioned under oath by the trustee and
                    by creditors OR THIS CASE MAY BE DISMISSED! IMPORTANT NOTES: (1) This meeting is NOT held at the
                    court; AND (2) Debtor must provide a photo ID (e.g., driver's license; federal, state, student or military ID; U.S.
                    passport; or resident alien card). Debtor must also provide proof of reported social security number (e.g., social
                    security card; medical insurance card; pay stub; W−2 form; IRS form 1099; or Social Security Admin. report).
                    Original photo IDs and other documents are required. Creditors are welcome to attend, but are not required
                    to do so. The meeting may be continued and concluded at a later date without further notice.
Claims              A Proof of Claim is a signed statement describing a creditor's claim. PLEASE USE THE CLAIM FORM ON THE
                    NEXT PAGE!! A secured creditor retains rights in its collateral regardless of whether that creditor files a Proof of
                    Claim. If you do not file a Proof of Claim by the "Deadline to File a Proof of Claim" listed on the front side, you
                    might not be paid any money on your claim against the debtor in the bankruptcy case. To be paid you must file a
                    Proof of Claim even if your claim is listed in the schedules filed by the debtor. Filing a Proof of Claim submits the
                    creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a
                    secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the right to a
                    jury trial. Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the
                    front of this notice apply to all creditors. If this notice is mailed to a creditor at a foreign address, the creditor may
                    file a motion requesting the court to extend the deadline.
Discharge of        The debtor is seeking a discharge of most debts, which may include your debt. A discharge means you may
Debts               never try to collect the debt from the debtor. If you believe a debt owed to you is not dischargeable under
                    Bankruptcy Code §523(a)(2) or (4), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office
                    by the "Deadline to File a Complaint to Determine Dischargeability of Certain Debts" listed on the front side. The
                    bankruptcy clerk's office must receive the complaint and any required filing fee by that deadline.
Exempt Property     The debtor is permitted by law to keep certain property as exempt. Fully exempt property will not be sold and
                    distributed to creditors, even if the debtor's case is converted to Chapter 7. The debtor must file a list of all
                    property claimed as exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an
                    exemption claimed by the debtor is not authorized by law, you may file an objection to that exemption. The
                    bankruptcy clerk's office must receive that objection by the "Deadline to Object to Exemptions" listed on the front
                    side.
Bankruptcy Court Any PAPER document that you file in this bankruptcy case must be filed at:
Clerk's Office
(Document Filing, U.S. Bankruptcy Court Phone: 503−326−1500            Office Hours: 9:00AM−4:30PM
and Copies)       1001 SW 5th Ave #700
                  Portland, OR 97204
                  (IMPORTANT NOTE: The Meeting of Creditors is NOT held at this address!)
                    You may inspect all filed documents, including the list of the debtor's property and debts and the list of the
                    property claimed as exempt, at the bankruptcy clerk's office. A deputy clerk will make copies of paper documents
                    for 50¢ a page (e.g., Schedules average $10). If the document is available as an electronic image, then you may
                    make copies for 10¢ per page using a public access terminal at either court office. Written requests for copies of
                    court documents must include a self addressed and stamped 9" x 12" envelope, a $26 search fee and the
                    appropriate copy fee.
Internet Access,    Court, and most case information, may also be accessed via the court's website at www.orb.uscourts.gov. For
Information and     account numbers, etc. contact the debtor's attorney. Contact your OWN attorney with other questions and to
Legal Advice        protect your rights. The clerk's office staff is forbidden by law from giving legal advice!
Creditor with a     Consult a lawyer familiar with United States bankruptcy law if you have questions about your rights in this case.
Foreign Address
                     −− Refer to Other Side for Important Deadlines and Notices −−




                                   Case 10-31675-rld13                Doc 8       Filed 11/12/09
                                                                                                                                           THIS SPACE IS FOR
B10 (12/08)
                                                                                                                                            COURT USE ONLY
       UNITED STATES BANKRUPTCY COURT                                                    PROOF OF CLAIM
                               District of Oregon
Name of Debtor: Eugene Tyrone Alwine                                                 Case Number:
               Bobbi Lee Alwine
                                                                                               09-39313-rld13
Name of Creditor (the person or other entity to whom the debtor owes                     Check this box to indicate that
                               ______
money or property) (NOTE: STRIKE any preprinted text that is incorrect                   this claim amends a previously
___
AND type or print correct information):                                                  filed claim.
                                                                                         Court Claim # _________(if known)

                                                                                         Filed on: ______________
Name and address where notices should be sent:
                                                                                         Check this box if you are aware
                                                                                         that anyone else has filed a proof
                                                                                         of claim relating to your claim.
                                                                                         Attach copy of statement giving
                                                                                         particulars.

                                                                                         Check this box if you are the
                                                                                         debtor or trustee in this case.
Telephone Number:
Name and address where payment should be sent (if different from above):




Telephone Number:

1. Amount of Claim as of Date Case Filed:                      $_______________________________                               5. Amount of Claim Entitled to
                                                                                                                                 Priority under 11 U.S.C. §507(a). If
If all or part of your claim is secured, complete item 4 below; however, if all of your claim is unsecured, do not               any portion of your claim falls in
complete item 4.                                                                                                                 one of the following categories,
                                                                                                                                 check the box and state the
If all or part of your claim is entitled to priority, complete item 5.                                                           amount.
                                                                                                                              Specify the priority of the claim:
    Check this box if claim includes interest or other charges in addition to the principal amount of claim. Attach
    itemized statement of interest or charges.                                                                                    Domestic support obligations under
                                                                                                                                  11 U.S.C. §507(a)(1)(A) or(a)(1)(B).
2. Basis for Claim:
  (See instruction #2 on reverse side.)                                                                                           Wages, salaries, or commissions
                                                                                                                                  (up to $10,950*) earned within 180
3. Last four digits of any number by which creditor identifies debtor: ______________________                                     days before filing of the bankruptcy
                                                                                                                                  petition or cessation of the debtor’s
      3a. Debtor may have scheduled account as:                                                                                   business, whichever is earlier - 11
           (See instruction #3a on reverse side.)                                                                                 U.S.C. §507 (a)(4).

4. Secured Claim (See instruction #4 on reverse side.)                                                                            Contributions to an employee benefit
  Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the                   plan - 11 U.S.C. §507 (a)(5).
  requested information.
                                                                                                                                  Up to $2,425* of deposits toward
  Nature of property or right of setoff:          Real Estate            Motor Vehicle        Other                               purchase, lease, or rental of property
  Describe:                                                                                                                       or services for personal, family, or
                                                                                                                                  household use - 11 U.S.C. §507
                                                                                                                                  (a)(7).
  Value of Property: $________________ Annual Interest Rate_______%
                                                                                                                                  Taxes or penalties owed to
  Amount of arrearage and other charges as of time case filed included in secured claim, if any:                                  governmental units - 11 U.S.C. §507
                                                                                                                                  (a)(8).
  $__________________ Basis for perfection:
  Amount of Secured Claim: $__________________ Amount Unsecured: $__________________                                             Other - Specify applicable paragraph
                                                                                                                                 of 11 U.S.C. §507 (a)(____).
6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.               Amount entitled to priority:
                           1
7. Documents: Attach 8 ⁄2 X 11 INCH redacted copies of any documents that support the claim, such as promissory
notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and
                                                                                                                                          $_______________
security agreements. You may also attach a summary. Attach redacted copies of documents providing evidence of
perfection of a security interest. You may also attach a summary. (See instruction 7 and definition of "redacted" on          *Amounts are subject to adjustment on 4/1/10
reverse side.)                                                                                                                and every 3 years thereafter with respect to
                                                                                                                              cases commenced on or after the date of
DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER SCANNING.
                                                                                                                              adjustment.
If the documents are not available, please explain:

DATE:                              ___
                            SIGN AND PRINT the name AND title, if any, of the creditor or other person authorized to                     MAIL CLAIM TO:
                            file this claim and state address and telephone number if different from the notice address       Clerk, U.S. Bankruptcy Court
                            above. Attach copy of power of attorney, if any.                                                  1001 SW 5th Ave #700
                                                                                                                              Portland, OR 97204

NOTE: DO _
         N_O_
            T FILE CLAIM IF SAME ONE ALREADY FILED IN THIS CASE!!
                   Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both - 18 U.S.C. §§ 152 and 3571.
                                                                  * * * OVER FOR INSTRUCTIONS * * *


                                                 Case 10-31675-rld13                     Doc 8         Filed 11/12/09
B10 (12/08) - Cont.
                                              INSTRUCTIONS FOR PROOF OF CLAIM FORM
The instructions and definitions below are general explanations of the law. In certain circumstances, such as bankruptcy cases not filed voluntarily by the debtor,
there may be exceptions to these general rules.
                                                     Items to be Completed in Proof of Claim Form

Name of Debtor and Case Number:                                                            (See DEFINITIONS, below.) State the type and the value of property that
Fill in the the bankruptcy debtor’s name, and the bankruptcy case number. If               secures the claim, attach copies of lien documentation, and state annual
the creditor received a notice of the case from the bankruptcy court, all of this          interest rate and the amount past due on the claim as of the date of the
information is located at the top of the notice.                                           bankruptcy filing.
Creditor’s Name and Address:                                                             5. Amount of Claim Entitled to Priority Under 11 U.S.C. §507(a):
Fill in the name of the person or entity asserting a claim and the name and                If any portion of your claim falls in one or more of the listed categories,
address of the person who should receive notices issued during the bankruptcy              check the appropriate box(es) and state the amount entitled to priority.
case. A separate space is provided for the payment address if it differs from the          (See DEFINITIONS, below.) A claim may be partly priority and partly non-
notice address. The creditor has a continuing obligation to keep the court                 priority. For example, in some of the categories, the law limits the amount
informed of its current address. See Federal Rule of Bankruptcy Procedure                  entitled to priority.
(FRBP) 2002(g).
                                                                                         6. Credits:
1. Amount of Claim as of Date Case Filed:                                                  An authorized signature on this proof of claim serves as an
  State the total amount owed to the creditor on the date of the bankruptcy                acknowledgment that when calculating the amount of the claim, the
  filing. Follow the instructions concerning whether to complete items 4 and 5.            creditor gave the debtor credit for any payments received toward the debt.
  Check the box if interest or other charges are included in the claim.
                                                                                         7. Documents:
2. Basis for Claim:                                                                        Attach to this proof of claim form redacted copies documenting the
  State the type of debt or how it was incurred. Examples include goods sold,              existence of the debt and of any lien securing the debt. You may also
  money loaned, services performed, personal injury/wrongful death, car loan,              attach a summary. You must also attach copies of documents that
  mortgage note, and credit card. If the claim is based on the delivery of health          evidence perfection of any security interest. You may also attach a
  care goods or services, limit the disclosure of the goods or services so as to           summary. FRBP 3001(c) and (d). If the claim is based on the delivery of
  avoid embarrassment or the disclosure of confidential health care information.           health care goods or services, see instruction 2. Do not send original
  You may be required to provide additional disclosure if the trustee or another           documents, as attachments may be destroyed after scanning.
  party in interest files an objection to your claim.
                                                                                           Date and Signature:
3. Last Four Digits of Any Number by Which Creditor Identifies Debtor:                     The person filing this proof of claim must sign and date it. FRBP 9011. If
  State only the last four digits of the debtor’s account or other number used by          the claim is filed electronically, FRBP 5005(a)(2) authorizes courts to
  the creditor to identify the debtor.                                                     establish local rules specifying what constitutes a signature. Print the
                                                                                           name and title, if any, of the creditor or other person authorized to file this
  3a. Debtor May Have Scheduled Account As:                                                claim. State the filer’s address and telephone number if it differs from the
  Use this space to report a change in the creditor’s name, a transferred claim,           address given on the top of the form for purposes of receiving notices.
  or any other information that clarifies a difference between this proof of claim         Attach a complete copy of any power of attorney. Criminal penalties apply
  and the claim as scheduled by the debtor.                                                for making a false statement on a proof of claim.
4. Secured Claim:
  Check the appropriate box and provide the requested information if the claim
  is fully or partially secured. Skip this section if the claim is entirely unsecured.
                                     __________DEFINITIONS__________                                                           ______INFORMATION______

Debtor                                                 a court proceeding. In some states, a court                Acknowledgment of Filing of Claim
A debtor is the person, corporation, or other          judgment is a lien. A claim also may be secured if         To receive acknowledgment of your filing, you may
entity that has filed a bankruptcy case.               the creditor owes the debtor money (has a right to         either enclose a stamped self-addressed envelope
                                                       setoff).                                                   and a copy of this proof of claim if it is filed on
Creditor
                                                                                                                  paper, or you may access the court’s PACER
A creditor is a person, corporation, or other
entity owed a debt by the debtor that arose on or
                                                       Unsecured Claim
                                                       An unsecured claim is one that does not meet the
                                                                                                                             ___________________________
                                                                                                                  system at http://ecf.orb.uscourts.gov for a small fee
                                                                                                                  to view your filed proof of claim. Visit the PACER
before the date of the bankruptcy filing. See 11
U.S.C. §101 (10).
                                                       requirements of a secured claim. A claim may be
                                                       partly unsecured if the amount of the claim exceeds
                                                                                                                                     _________________________________
                                                                                                                  Service Center at http://www.pacer.psc.uscourts.gov
                                                                                                                  to register if you do not have a PACER account.
                                                       the value of the property on which the creditor has a
Claim
                                                       lien.                                                      Offers to Purchase a Claim
A claim is the creditor’s right to receive payment
                                                                                                                  Certain entities are in the business of purchasing
on a debt owed by the debtor that arose on the         Claim Entitled to Priority Under 11 U.S.C.
                                                                                                                  claims for an amount less than the face value of the
date of the bankruptcy filing. See 11 U.S.C.           §507(a) Priority claims are certain categories of
                                                                                                                  claims. One or more of these entities may contact
§101 (5). A claim may be secured or unsecured.         unsecured claims that are paid from the available
                                                                                                                  the creditor and offer to purchase the claim. Some of
                                                       money or property in a bankruptcy case before other
Proof of Claim                                                                                                    the written communications from these entities may
                                                       unsecured claims.
A proof of claim is a form used by the creditor to                                                                easily be confused with official court documentation
indicate the amount of the debt owed by the            Redacted                                                   or communications from the debtor. These entities
debtor on the date of the bankruptcy filing. The       A document has been redacted when the person               do not represent the bankruptcy court or the debtor.
creditor must file the form with the clerk of the      filing it has masked, edited out, or otherwise             The creditor has no obligation to sell its claim.
same bankruptcy court in which the bankruptcy          deleted, certain information. A creditor should redact     However, if the creditor decides to sell its claim, any
case was filed.                                        and use only the last four digits of any social-           transfer of such claim is subject to FRBP 3001(e),
                                                       security, individual’s taxpayer-identification, or         any applicable provisions of the Bankruptcy Code
Secured Claim Under 11 U.S.C. §506(a)                                                                             (11 U.S.C. § 101 et seq.), and any applicable orders
                                                       financial-account number, all but the initials of a
A secured claim is one backed by a lien on                                                                        of the bankruptcy court.
                                                       minor’s name and only the year of any person’s date
property of the debtor. The claim is secured so
                                                       of birth.
long as the creditor has the right to be paid from
the property prior to other creditors. The amount      Evidence of Perfection
of the secured claim cannot exceed the value of        Evidence of perfection may include a mortgage, lien,
the property. Any amount owed to the creditor in       certificate of title, financing statement, or other
excess of the value of the property is an              document showing that the lien has been filed or
unsecured claim. Examples of liens on property         recorded.
include a mortgage on real estate or a security
interest in a car. A lien may be voluntarily
granted by a debtor or may be obtained through
                                                     * * * OVER FOR PROOF OF CLAIM FORM * * *



                                               Case 10-31675-rld13                       Doc 8        Filed 11/12/09
                                CERTIFICATE OF NOTICE
 District/off: 0979-3                  User: pamr                         Page 1 of 1                          Date Rcvd: Nov 10, 2009
 Case: 09-39313                        Form ID: B9I                       Total Noticed: 31

 The following entities were noticed by first class mail on Nov 12, 2009.
 db/jdb       +Eugene Tyrone Alwine,    Bobbi Lee Alwine,     28281 S. Dalmation Rd.,    Mulino, OR 97042-8806
 aty          +TODD TRIERWEILER,    4721 NE 102nd Ave,    Portland, OR 97220-3339
 tr           +Brian D. Lynch,    1300 SW 5th #1700,    Portland, OR 97201-5608
 smg          +Dept of Justice,    Division of Child Support,     Attn: Bankruptcy Unit,     POB 14670,
                Salem, OR 97309-5013
 smg          +US Attorney,    US Attorney,    1000 SW 3rd Ave #600,    Portland, OR 97204-2936
 smg          +US Attorney General,    Department of Justice,     10th & Constitution NW,
                Washington, DC 20530-0001
 ust          +US Trustee, Portland,    620 SW Main St #213,     Portland, OR 97205-3026
 98488284     +9-Mile Construction & Excavation Inc,     294 NW 2nd Ave. PMB 217,     Canby, OR 97013-3624
 98488285     +Asset Systems,    PO Box 14550,    Portland, OR 97293-0550
 98488288     +CNH Capital America LLC,     RA/CT Corporation System,    388 State St. STE 420,
                Salem, OR 97301-3581
 98488289      CNH Capital America, LLC,     PO Box 894703,    Los Angeles, CA 90189-4703
 98488290     +Columbia River Bank,    PO Box 1050,    The Dalles, OR 97058-9050
 98488291     +Columbia River Bank,    President Terry Cochran,     PO Box 1050,    The Dalles, OR 97058-9050
 98488292     +GMAC,   PO Box 78234,    Phoenix, AZ 85062-8234
 98488293     +GMAC/General Motors Accept. Corp.,     c/o CT Corporation System RA,     388 State Street, Suite 420,
                Salem, OR 97301-3581
 98488297     +MT Scott Ent & Audiology,     PO Box 848573,    Boston, MA 02284-8573
 98488298     +Multnomah County Itax,    Attn: Myndi Fertile,     PO Box 279,    Portland, OR 97207-0279
 98488299     +Northern Escrow,    PO Box 74176,    New River, AZ 85087-1002
 98488300     +Northshore Agency Inc.,    PO Box 8901,    Westbury, NY 11590-8901
 98488302     +Open Advanced MRI,    PO Box 66500,    Portland, OR 97290-6500
 98488303     +Potlatch #1 FCU,    President Chris Loseth,     PO Box 897,    Lewiston, ID 83501-0897
 98488304     +Potlatch #1 Federal FCU,     654 Southway Ave,    Lewiston, ID 83501-3783
 98488305     +Wells Fargo,    PO Box 30427,    Los Angeles, CA 90030-0427
 98488306     +Worldmark, The Club,    9805 Willows Rd.,    Redmond, WA 98052-2540
 The following entities were noticed by electronic transmission on Nov 10, 2009.
 smg          +EDI: ORREV.COM Nov 10 2009 19:19:00      ODR Bkcy,    955 Center NE #353,    Salem, OR 97301-2553
 98488287     +EDI: BANKAMER.COM Nov 10 2009 19:18:00       Bank of America,    PO Box 851001,
                Dallas, TX 75285-1001
 98488286     +EDI: BANKAMER.COM Nov 10 2009 19:18:00       Bank of America,    Consumer Financial Services,
                NC4-105-03-14,   PO Box 26012,   Greensboro, NC 27420-6012
 98488295     +EDI: HFC.COM Nov 10 2009 19:18:00      HSBC,    PO Box 60107,    City Of Industry, CA 91716-0107
 98488294     +EDI: HFC.COM Nov 10 2009 19:18:00      Household Bank,    PO Box 60102,
                City Of Industry, CA 91716-0102
 98488296      EDI: IRS.COM Nov 10 2009 19:18:00      IRS,    PO Box 21126,    Philadelphia, PA 19114
 98488301     +EDI: ORREV.COM Nov 10 2009 19:19:00      ODR-Bankruptcy,     c/o Bankruptcy Unit,
                955 Center Street, NE Room 353,    Salem, OR 97301-2553
                                                                                                 TOTAL: 7
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Nov 12, 2009                                       Signature:




                                       Case 10-31675-rld13               Doc 8      Filed 11/12/09
